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JS 44 (Rev. 3/22)                                                           CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                              DEFENDANTS

           Zermatt Holdings, LLC; WFA of San Diego, LLC                                                        Martin Christopher Cooper; Chris Cooper & Company, Inc.

     (b)   County of Residence of First Listed Plaintiff Mecklenburg,                     NC                   County of Residence of First Listed Defendant
                             (EXCEPT IN U.S. PLAINTIFF CASES)                                                                         (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                               NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                       THE TRACT OF LAND INVOLVED.

     (C) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
      Peter A. Saba, Jeffrey M. Nye, Joshua M. Smith,
      Stagnaro, Saba & Patterson Co. LPA, 2623 Erie Ave,
      Cincinnati. OH 45230. 513-533-2701
II. BASIS OF JURISDICTION (Place an "X" in One Box Only) III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Boxfor Plaintiff
                                                                                                            (For Diversity Cases Only)                                    and One Boxfor Defendant)
     I   U.S. Government                E3     Federal Question                                                                      PTF         DEF                                       PTF      DEF
            Plaintiff                            (U.S. Government Not a Party)                        Citizen of This State                        1     Incorporated or Principal Place    ❑ 4         04
                                                                                                                                                           of Business In This State

O2       U.S. Government                ID 4   Diversity                                              Citizen of Another State          El 2    E    2   incorporated and Principal Place       El 5    0     5
           Defendant                             (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                      Citizen or Subject of a           El 3    O    3   Foreign Nation                        O    6   O6
                                                                                                        Foreign Country
IV. NATURE OF SUIT (Place an "X" in One Box Only)                                                                                         Click here for: Nature of Suit Code Descriptions.
            CONTRACT                                                TORTS                               FORFEITURE/PENALTY                        BANKRUPTCY                         OTHER STATUTES               I
     1 10 Insurance                      PERSONAL INJURY                  PERSONAL INJURY             1625
                                                                                                      Drug Related Seizure                E    422 Appeal 28 USC 158               375 False Claims Act
     120 Marine                     ]    310 Airplane               . 365 Personal Injury -           of Property 21 USC 881                   423 Withdrawal                      376 Qui Tam (31 USC
     130 Miller Act                      315 Airplane Product                 Product Liability       1 690
                                                                                                      Other                                        28 USC 157                          3729(a))
/—   140 Negotiable Instrument                Liability              MI 367 Health Care/                                                                                    D      400 State Reapportionment
     150 Recovery of Overpayment    D    320 Assault, Libel &                 Pharmaceutical                                                    INTELLECTUAL
                                                                                                                                               PROPERTY RIGHTS
                                                                                                                                                                            _      410 Antitrust
_        & Enforcement of Judgment            Slander                         Personal Injury                                                                               _      430 Banks and Banking
     151 Medicare Act                    330 Federal Employers'               Product Liability                                            — 820 Copyrights                 ___    450 Commerce
-    152 Recovery of Defaulted                Liability             • 368 Asbestos Personal                                                l_ ' 830 Patent -                _      460 Deportation
          Student Loans             ]    340 Marine                           Injury Product                                                    835 Patent Abbreviated             470 Racketeer Influenced and
                                                                                                                                                                            —
          (Excludes Veterans)            345 Marine Product                   Liability                                                             New Drug Application               Corrupt Organizations
•    153 Recovery of Overpayment              Liability                PERSONAL PROPERTY                   LABOR                           El 840 Trademark                1       480 Consumer Credit
         of Veteran's Benefits      ]    350 Motor Vehicle          . 370 Other Fraud                 7710
                                                                                                      Fair Labor Standards                 IM 880 Defend Trade Secrets                 (15 USC 1681 or 1692)
.    160 Stockholders' Suits             355 Motor Vehicle           MI 371 Truth in Lending          Act                                           Act of 2016                    485 Telephone Consumer
El   190 Other Contract                      Product Liability      . 380 Other Personal              1720
                                                                                                      Labor/Management                          SOCIAL SECURITY                        Protection Act
_    195 Contract Product Liability1     360 Other Personal                   Property Damage         Relations                            — 861 HIA (1395fi)               —      490 Cable/Sat TV
     196 Franchise                           Injury                  I 385 Property Damage        740 Railway Labor Act                         862 Black Lung (923)        —      850 Securities/Commodities/
                                   D     362 Personal Injury -                Product Liability — 751 Family and Medical                   — 863 DIWC/DIWW (405(g))         —          Exchange
                                             Medical Malpractice                                      Leave Act                            — 864 SSID Title XVI             7J     890 Other Statutory Actions
        REAL PROPERTY                      CIVIL RIGHTS                 PRISONER PETITIONS J 790 Other Labor Litigation                   E     865 RSI (405(g))                   891 Agricultural Acts
 _j 210 Land Condemnation                440 Other Civil Rights           Habeas Corpus:        _1791 Employee Retirement                                                          893 Environmental Matters
li 220 Foreclosure                       441 Voting                       463 Alien Detainee          Income Security Act                      1.1..DLRAL TAX Surfs                895 Freedom of Information
_ 230 Rent Lease & Ejectment             442 Employment             ] 510 Motions to Vacate                                                ill 870 Taxes (U.S. Plaintiff               Act
_ 240 Torts to Land                      443 Housing/                         Sentence                                                               or Defendant)                 896 Arbitration
    245 Tort Product Liability               Accommodations          IIII 530 General                                                      .    871 IRS—Third Party            ]   899 Administrative Procedure
. 290 All Other Real Property      1     445 Amer. w/Disabilitics - Ill 535 Death Penalty              IMMIGRATION                                   26 USC 7609                       Act/Review or Appeal of
                                             Employment                   Other:                  462 Naturalization Application                                                       Agency Decision
                                   1     446 Amer. w/Disabilities - _ 540 Mandamus & Other        465 Other Immigration                                                            950 Constitutionality of
                                             Other                   — 550 Civil Rights               Actions                                                                          State Statutes
                                   1     448 Education                    555 Prison Condition
                                                                    _— 560 Civil Detainee -
                                                                              Conditions of
                                                                              Confinement
V. ORIGIN (Place an "X" in One Box Only)
         Original          O2   Removed from              O     3    Remanded from               O4   Reinstated or     O       5 Transferred from       O   6 Multidistrict            O8    Multidistrict
         Proceeding             State Court                          Appellate Court                  Reopened                    Another District             Litigation -                   Litigation -
                                                                                                                                  (specify)                    Transfer                       Direct File
                                           Cite the U.S. Civil Statute under which you arc filing (Do not cite jurisdictional statutes unless diversity):
                                           28 USC 1332 (diversity jurisdiction)
VI. CAUSE OF ACTION                        Brief description of cause:
                                           Intentional interference with a business relationship, deceptive trade practice, unjust enrichment, quantum meruit, unfair competition
VII. REQUESTED IN    ❑ CHECK IF THIS IS A CLASS ACTION                                                   DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:         UNDER RULE 23, F.R.Cv.P.                                                         $1,902,000+                                 JURY DEMAND:                      Yes     ❑No

VIII. RELATED CASE(S)
                      (See instructions):
      IF ANY                              JUDGE                                                                                                DOCKET NUMBER
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
Jul 24, 2023                                                                 /s/ Jeffrey M. Nye
FOR OFFICE USE ONLY

     RECEIPT #                   AMOUNT                                       APPLYING IFP                                      JUDGE                            MAG. JUDGE
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                                            UNITED STATES DISTRICT COURT
                                             NORTHERN DISTRICT OF OHIO

I.                Civil Categories: (Please check one category only ).

                  1.                 General Civil
                  2.                 Administrative Review/Social Security
                  3.        1        Habeas Corpus Death Penalty
        *If under Title 28, §2255, name the SENTENCING JUDGE:

                                                    CASE NUMBER:
II.    RELATED OR REFILED CASES See LR 3.1 which provides in pertinent part: "If an action is filed or removed to this Court
        and assigned to a District Judge after which it is discontinued, dismissed or remanded to a State court, and
        subsequently refiled, it shall be assigned to the same Judge who received the initial case assignment without regardfor
        the place of holding court in which the case was refiled. Counsel or a party without counsel shall be responsible for
        bringing such cases to the attention of the Court by responding to the questions included on the Civil Cover Sheet."

         This action:   ri is   RELATED to another PENDING civil case Ea         a REFILED case n          was PREVIOUSLY REMANDED


If applicable, please indicate on page 1 in section VIII, the name of the Judge and case number.

III.    In accordance with Local Civil Rule 3.8, actions involving counties in the Eastern Division shall be filed at any of the
        divisional offices therein. Actions involving counties in the Western Division shall be filed at the Toledo office. For the
        purpose of determining the proper division, and for statistical reasons, the following information is requested.

        ANSWER ONE PARAGRAPH ONLY. ANSWER PARAGRAPHS 1 THRU 3 IN ORDER. UPON FINDING WHICH
        PARAGRAPH APPLIES TO YOUR CASE, ANSWER IT AND STOP.

        (1)     Resident defendant If the defendant resides in a county within this district, please set forth the name of such
        county
        COUNTY: Lucas
        Corporation For the purpose of answering the above, a corporation is deemed to be a resident of that county in
                    which it has its principal place of business in that district.

        (2)   Non-Resident defendant. If no defendant is a resident of a county in this district, please set forth the county
              wherein the cause of action arose or the event complained of occurred.
        COUNTY:

        (3)   Other Cases. If no defendant is a resident of this district, or if the defendant is a corporation not having a principle
              place of business within the district, and the cause of action arose or the event complained of occurred outside
              this district, please set forth the county of the plaintiffs residence.
        COUNTY

IV.     The Counties in the Northern District of Ohio are divided into divisions as shown below. After the county is
        determined in Section III, please check the appropriate division.

        EASTERN DIVISION

                  AKRON                      (Counties: Carroll, Holmes, Portage, Stark, Summit, Tuscarawas and Wayne)
                                             (Counties: Ashland, Ashtabula, Crawford, Cuyahoga, Geauga,
                 CLEVELAND                   Lake, Lorain, Medina and Richland)
                 YOUNGSTOWN                  (Counties: Columbiana, Mahoning and Trumbull)

        WESTERN DIVISION


           Ht     TOLEDO                     (Counties: Allen, Auglaize, Defiance, Erie, Fulton, Hancock, Hardin, Henry,
                                              Huron, Lucas, Marion, Mercer, Ottawa, Paulding, Putnam, Sandusky, Seneca
                                             VanWert, Williams, Wood and Wyandot)
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JS 44 Reverse (Rev. 3/22)


                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

n.       Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.        Origin. Place an "X" in one of the seven boxes.
          Original Proceedings. (1) Cases which originate in the United States district courts.
          Removed from State Court. (2) Proceedings initialed in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
          Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
          date.
          Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
          Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
          multidistrict litigation transfers.
          Multidistrict Litigation — Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
          Section 1407.
          Multidistrict Litigation — Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
          PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
          changes in statute.

VI.       Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
          statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.      Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
          Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
          Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
